Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                   PageID.51       Page 1 of 12




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,             CRIMINAL NO. 12-CR-20598

v.                                            HONORABLE SEAN F. COX

                                              VIOLATION: 18 U.S.C. § 1343, Wire Fraud

D-1 MICHAEL WINANS, JR.,

                  Defendant.
_______________________________/


                    GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by its attorneys, Barbara L. McQuade, United States

Attorney, and Abed Hammoud, Assistant United States Attorney, respectfully recommends that

the Court impose a sentence of imprisonment within the Guideline range calculated in the

Presentence Investigation Report (PSR): 151 to 188 months.

I.     FACTUAL BACKGROUND

       From approximately October 2007 through September 2008, in the Eastern District of

Michigan, Southern Division, MICHAEL WINANS, Jr. (D-1) operated the Winans Foundation

Trust (the Trust) and represented that the Trust was a company investing in crude oil bonds in

Saudi Arabia. He initially recruited eleven individuals, whom he called “shareholders” in the

Trust, to invest in the crude oil bonds. He required the “shareholders” (i) to solicit additional

investors; (ii) to incorporate businesses to hold the funds provided by the investors they

solicited; and (iii) to send the investors’ funds to the Trust. Victim investors resided in the


                                                 1
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                   PageID.52      Page 2 of 12




States of Michigan, Arkansas and Georgia, among other places.

       As early as December 2007, WINANS became aware that the Saudi Arabian crude oil

bond did not exist as an investment vehicle. Yet, he did not disclose this fact to existing

investors and, with the intent to defraud, continued to solicit funds for the Trust. Each individual

victim of WINANS’ scheme to defraud invested several thousand dollars in the Saudi Arabian

crude oil bond. As a result, defendant obtained over $8,000,000 from more than 1,000 victim

investors, all of whom were led to believe they were investing in Saudi Arabian crude oil bonds

that defendant well knew did not exist. Defendant WINANS guaranteed the victim investors that

the bonds would yield returns of approximately 100% of the principle within 60 days. He then

deposited the victim investors’s funds into his own bank accounts. He falsely explained to the

victim investors that their funds had to be deposited into his account because the Saudi Arabian

crude oil bonds were not being publicly traded.

       WINANS then converted some of the victim investors’ money to his own personal use.

In addition, in classic “Ponzi-scheme” fashion, defendant gave some of his later victims’ money

to his earlier victims, and falsely represented to them that it was the return on their “investments”

he had promised. Further, defendant made fraudulent material representations and promises to

his victim investors who requested a return on their funds, lulling them with false explanations

that their money was secure but temporarily unavailable.

       In executing his scheme to defraud, WINANS made or caused to be made interstate wire

transmissions, including sending emails to out of state victims and depositing their checks into

his bank account.




                                                  2
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                   PageID.53      Page 3 of 12




II.    SENTENCING GUIDELINE CALCULATIONS AND § 3553(a) FACTORS

       In determining an appropriate sentence, district courts are to consider the factors set forth

in 18 U.S.C. § 3553(a). See United States v. Booker, 543 U.S. 220, 264 (2005). “The Guidelines

should be the starting point and the initial benchmark in determining a sentence and a district

court should begin all sentencing proceedings by correctly calculating the applicable Guidelines

range.” United States v. Lalonde, 509 F.3d 750, 763 (6th Cir. 2007) (quoting Gall v. United

States, 128 S.Ct. 586, 601 (2007) (internal quotations omitted)). “Sentences falling within the

applicable Guidelines range are afforded a rebuttable presumption of reasonableness.” Id. at

770.

       In determining the appropriate sentence, the Court should not simply rely on the

Guidelines calculations, but should consider all of the factors in the Sentencing Reform Act and,

in particular, those set forth in 18 U.S.C. § 3553(a). These factors include: (1) the nature and

circumstances of the offense and the history and characteristics of the defendant; (2) the need for

the sentence imposed – (A) to reflect the seriousness of the offense, to promote respect for the

law, and to provide just punishment for the offense; (B) to afford adequate deterrence to criminal

conduct; (C) to protect the public from further crimes of the defendant; and (D) to provide the

defendant with needed educational or vocational training, medical care, or other correctional

treatment in the most effective manner; . . . (6) the need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty; and (7) the need

to provide restitution to any victims of the offense.




                                                  3
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                 PageID.54      Page 4 of 12




         A.     Sentencing Guidelines

                1. Guidelines Calculation

         The government agrees with the Probation Department’s calculation of the Guideline

range which is the same as in the Rule 11 signed by the parties, 151-188 months. It therefore

urges the Court to adopt this range. See PSR at ¶ 65.

         B.     Sentencing Reform Act Factors

         1.     The Seriousness of the Offense

         This was not a crime of opportunity. Defendant’s fraudulent scheme occurred over the

course of several years and consisted of a very calculated and thought-out conduct aimed at

using his position of trust with people he knew directly or through his friends. Defendant clearly

abused the fact that he came from a very well known family with a good reputation in order to

induce people to invest with him. He also used religion to convince people to trust and invest

with him. This translated into over eight million dollars of money obtained by fraud from so-

called investors, which financially ruined many of them.

         Defendant’s criminal activity impacted hundreds of people financially, emotionally, and

otherwise. Over 1,200 people “invested” in his pyramid scheme and more than 577 victims are

still owed money. See PSR at ¶ 15 and ¶ 16. Several of these victims submitted a “Victim

Impact Statement.” The government urges the Court to consider these statements when it

sentences the defendant. A few excerpts from different victims’ statements are included below.

These quotes do not constitute the entirety of what each victim submitted, but parts of what they

wrote.




                                                 4
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                   PageID.55      Page 5 of 12




      J. & P. G. from the State of Georgia wrote:

             My husband and I are victims of Michael Winans, Jr.’s ponzi
             scheme at the amount of $116,000 as of August 2007. We were
             personally associated with Mike long before this transaction took
             place so needless to say, we were devastated by this entire situation
             both financially and personally.

             We initially had no debt and had planned on being put in a position
             to maintain our children’s educational expenses and other
             investment endeavors. We had to pause those efforts because of
             the failure of this supposed opportunity… We have not been able
             to enjoy life to the extent that we had grown accustomed to prior to
             this event… However, we have had to make grave sacrifices in the
             efforts to recover, all the while, I view pictures of Michael driving
             high priced cars, living a lavish life, and socializing with celebrity
             types via social media.

             As sentencing is considered, I [entrust] Judge Sean Cox to render
             Michael Winans, Jr. the maximum penalty as the law allows. Not
             because we want revenge for we have forgiven him but because
             there’s been no symptoms of remorse. This was a callous and evil
             act based on greed and selfishness. He took advantage of trusting
             and unsuspecting people based on the reputation of his family
             name and the sincere hearts of a community of Christians familiar
             with that name, some of his own family members are even
             victims… In fact, those same pictures that he obviously posted on
             social media extravagantly demonstrated his utmost disrespect and
             total disregard to the financial and emotional harm he caused so
             many people.

             We are still in hopes of full restitution of all of our funds lost as
             expeditiously as possible.


      T.B. wrote:

             To say my interaction with Micheal Winans had an effect on my
             life emotionally, mentally and financially would be a gross under
             statement. This Silver Tongue Con-man [used] his family name to
             give us a false sense of trust, that he was [an] upstanding person.
             Even went so far as to [stand] up in front of a church and [say:]
             "Would I be using this forum if I wasn't being truthful with you."

                                                5
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                  PageID.56        Page 6 of 12




V. W., a family relative of defendant, wrote:

               Michael Winans, Jr. frequently stayed at my home, as he was best
               friends with his cousin and my son... He was also raised in the
               Christian Faith which he ultimately used against us! Michael, Jr.
               was my nephew by marriage… He was totally trusted by many
               because of our religious upbringing and his closeness to me, my
               sons, and my family…I work extremely hard and I would love to
               get mine and my family’s money back! This traumatic crime has
               made my nerves terribly bad. Trying to keep my name out of the
               press and this whole messy situation have made me think and feel
               that Michael, Jr. was going to get away with this crime. I have no
               idea how much weight this letter will have on Michael’s
               sentencing, but honestly I don’t have the words to say how much
               sorrow, grief, pain, tears, fears, etc., Michael’s blatant, knowing,
               and criminal activity has caused me and my family… He has
               shown NO remorse for this awful crime…


J.T. wrote:

               … I am a young girl who comes from an urban community where
               good opportunities don’t come along very often. Perhaps this is
               why I jumped at the chance to be a part of what I now know was
               nothing more than a scheme that was put on by Michael Winans Jr.
               At the time, I was a college student who was looking to make some
               money in order to contribute to the cost of higher education. I was
               overjoyed to be able to make some extra money that would help
               pay for tuition, room and board, books, and all the other expenses
               that come along with a college education. It all came crashing
               down when I was informed that it was all a scam. To some it may
               not seem like a lot of money but to me, it was everything. It
               was my money that I worked so hard to save, that could have been
               used to support me during my struggle. Instead, it was wrongfully
               taken by a man who had no regards for how his selfish and illegal
               choices could affect the lives of others. I must admit I fell for his
               last name. Being a Christian girl and knowing that he came from a
               Christian family, gave me the confidence to entrust in him my
               money. (Emphasis added.)




                                                6
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                  PageID.57        Page 7 of 12




         L.G. was one of defendant’s so-called “shareholders” who were recruiting other

“investors” under the belief that this was a true and legitimate investment opportunity. She

wrote:

                When this investment ended, it was probably one of the worst days
                of my life. My team and I alone had over 350 people totaling 2
                million dollars. There were people who had put in over 10k (plus
                processing fees) for this investment. People took the buyout from
                the Big Three automakers, 401K’s, Personal lines of credit, life
                savings, retirement funds, annuity funds some even took out equity
                loans almost losing their homes. People convinced their bosses on
                the job to invest which resulted in bad relationships and drama on
                the job. As a result, many people such as myself had to file
                [bankruptcy], marriages were in turmoil, marriages split apart,
                families were divided, friendships ended, threats evolved, people
                became physically ill due to stress and lack of finances… There
                were people of different cultures (I had a group of Russians invest
                with me) who had invested and believed that if anything were to
                happen to their money that the person handling their money
                specifically shouldn’t live and consequently, that person handling
                their money was me because the money went from her hand to
                [mine]. Although the money went from my hands to his she was
                not trying to hear that because she gave me her money so I had to
                deal with the consequences if I didn’t pay her money back. She
                had invested 20 thousand dollars (plus processing fees) and she
                told me that she would kill me if I didn’t give her the money she
                invested plus processing fees and told me my address and that she
                would be at my house immediately. I had to get all the money out
                my business and personal account in order to pay her back. I told
                him about it and he left me in the dust not returning my calls and I
                had to draw all my accounts empty to save my own life. … It One
                thing for sure people actually believed in it and trusted that it
                would work because of the top source who was Winans Jr. that it
                was coming from and the fact that his family members are
                millionaires… It was so stressful, my father had several people
                invest their money and was sued so that caused he and I to part
                ways and my dad is my best friend so that hurt my heart, my
                mother was terminally ill at the time and suffered a stroke
                worrying about me and my father so we were back [and] forth to
                the hospital.


                                                 7
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                   PageID.58        Page 8 of 12




       Clearly, defendant’s crime is very serious and affected and continues to affect the lives of

many individuals. The seriousness of this crime is also reflected in the maximum potential

penalty of 20 years imprisonment and the sentencing Guidelines of 151 to 188 months. A

sentence of imprisonment within the range suggested by the Guidelines is appropriate here.

       2.      Respect for the Law and Deterrence

       In white collar prosecutions, the sentence imposed is important to promote respect for the

law and to deter the defendant and general public from committing similar future crimes. Given

the difficulties of uncovering and prosecuting this type of fraud, the deterrent impact of prison

sentences is important to the mission of law enforcement and the financial integrity of the

system. The Eleventh Circuit emphasized the important role that prison sentences have in

deterring white collar crime in United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006)

when it recognized that “[b]ecause economic and fraud-based crimes are more rational, cool, and

calculated than sudden crimes of passion or opportunity, these crimes are prime candidates for

general deterrence.” (Internal quotation marks and alterations omitted.) With this in mind, a

sentence of imprisonment within the Guidelines is warranted given the significant amount of

monetary loss caused by the defendant and the number of victims involved. Approximately five

million dollars are still owed to at least 577 victims, according to ¶ 75 of the PSR.

       A custodial sentence within the Guideline range is appropriate given the magnitude of

defendant’s activities and his elaborate scheme. Indeed, the Sixth Circuit has stated that “[o]ne

of the central reasons for creating the sentencing Guidelines was to ensure stiffer penalties for

white-collar crimes and to eliminate disparities between white-collar sentences and sentences for

other crimes.” United States v. Davis, 537 F.3d 611, 617 (6th Cir. 2008) (citations omitted).

                                                 8
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                  PageID.59      Page 9 of 12




       3.      Need to Avoid Unwarranted Sentence Disparities

       An important sentencing consideration is the need to avoid unwarranted sentencing

disparities amongst similarly-situated offenders. Imposition of a sentence within the advisory

Guideline range best serves “the need to avoid unwarranted sentencing disparities among

defendants with similar records who have been found guilty of similar conduct.” 18 U.S.C. §

3553(a)(6). Congress “sought uniformity in sentencing by narrowing the wide disparity in

sentences imposed by different federal courts for similar criminal conduct” prior to the

Guidelines. Rita v. U.S., 127 S. Ct. 2456, 2464 (2007). Because “uniformity remains an

important goal of sentencing,” “Section 3553(a)(6) directs district courts to consider the need to

avoid unwarranted disparities.” Kimbrough v. U.S., 128 S. Ct. 558, 573-74 (2007). The

Guidelines “help to ‘avoid excessive sentencing disparities,’” Kimbrough, 128 S. Ct. at 573-74,

because “avoidance of unwarranted disparities was clearly considered by the Sentencing

Commission when setting the Guidelines ranges,” Gall v. U.S., 128 S. Ct. 586, 599 (2007), and

because most defendants are sentenced within the Guideline Ranges. “[T]o secure nationwide

consistency, the Guidelines should be the starting point and the initial benchmark,” id. at 596,

and “remain an essential tool in creating a fair and uniform sentencing regime across the

country,” U.S. v. Cooper, 437 F.3d 324, 331 (3rd Cir. 2006). Sentencing within the Guideline

range avoids “creat[ing] a potential disparity in sentence for those convicted of [the same crime]

in New Jersey, and across the country, based on little, if anything, more than the luck of which

judge is assigned to a particular case.” U.S. v. Goff, 501 F.3d 250, 261 (3rd Cir. 2007). Therefore,

the United States respectfully requests that the Court impose a sentence of incarceration within

the advisory Guideline range in this case.

                                                 9
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                   PageID.60        Page 10 of 12




        4.      The Need to Provide Restitution to the Victims

        In most white collar crimes, restitution is an important component of the sentence

imposed by the Court. The financial hardship caused by defendant WINANS to hundreds of

people will never be fully stated and will most likely be underestimated despite the diligent

attempts of all the parties, especially the investigating agency and the Probation Department.

However, the victim impact statements submitted to the Court provide an insight as to the

financial effect defendant’s actions had on so many people. Many of the victims believe

WINANS has hidden the money he took from them. Below are excerpts from some of the victim

statements as they relate to restitution issues.

L.G. wrote:

                …There were false promises from Winans Jr. … of people getting
                their money back but it never happened. He took all my personal
                money from my 401K, personal lines of credit (thousands of
                dollars), everyone else’s money and moved out of town… I don’t
                want to keep living my life in fear over money that he stole for his
                own benefit. I am trying to move on with my life and regain my
                credibility and that is not fair to me. I have been dealing with this
                for almost 5 years. He needs to pay people back and let people
                know that all of this is his fought so that my life can go back to
                normal. Where did the money go? He talked about off shore
                accounts in New Mexico and getting personal safes.

E. M. wrote:

                … writing to express the hardship that I am still going through as a
                result of Michael Winans Jr. taking 21,000 dollars from me. As a
                result of losing that money, my house is in [foreclosure], I have no
                money in my savings account and my credit score has [plummeted]
                to below 600… I reside in Atlanta Georgia and unable to attend the
                sentencing. Please do all within your power to see that I am
                reimbursed and to compensate me for the strain that Mr.Winans
                has put in my life and my family's life.


                                                   10
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13                   PageID.61      Page 11 of 12




       L. V. G. wrote:

               I invested a total of $30,000.00 to Michael Winans Jr. and as a
               result of this [loss], I had to file bankruptcy and end my business,
               LVG Enterprises. I owned 6 rental properties and could not
               maintain them with the financial [loss]. This has had a tremendous
               impact on me emotionally as well. I am unable to purchase a
               home, and more importantly, I struggle to pay my student loans
               bill monthly. I would greatly appreciate if in addition to the
               sentencing of Michael Winans Jr., that I am returned all of the
               money that I invested.



       M. E. wrote:

               I was convinced this was a totally safe investment. Michael
               Winans stood on church pulpits on several occasions and spoke
               about the crude oil investments and it was guaranteed that we
               would not lose on this and emphasis was put on the initial
               investment surely guaranteed. I used money I had in savings and
               borrowed on my charge cards to make these investments…
               Michael Winans, Jr. caused havoc and financial chaos in my life.



       The parties agreed in the Rule 11 Plea Agreement that Defendant must be ordered to pay

restitution as determined by the Court. According to the PSR, this restitution is estimated at

$5,004,750 to over 577 victims. See PSR ¶ 75. This amount should be reflected in the judgment

issued by the Court and the appropriate restitution amount should be paid by the defendant to

each victim. Further, it is anticipated that, because of the publicity surrounding this case, more

victims could come forward AFTER sentencing. Therefore, the government respectfully asks

this Court to leave the possibility open for additional restitution to be ordered if more victims

come forward with the appropriate documentation.



                                                 11
Case 2:12-cr-20598-SFC-MKM ECF No. 11 filed 02/20/13              PageID.62     Page 12 of 12




                                        CONCLUSION

       For all of the above reasons, the government respectfully recommends that the Court

impose a sentence of imprisonment within the Guideline range of 151 to 188 months in prison

and order restitution to the victims.



                                                   Respectfully submitted,

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                                             12
